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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   Eastern Industries LLC,                          No. CV-23-00109-PHX-SMB
10                 Plaintiff,                         ORDER
11   v.
12   Thomas Vella, et al.,
13                 Defendants.
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15          The Court having received and considered Defendants’ Motion for Order
16   Directing Plaintiff to Obtain Counsel (Doc. 83) and good cause appearing,
17          IT IS HEREBY ORDERED that Defendants’ Motion for Order Directing
18   Plaintiff to Obtain Counsel is GRANTED. Plaintiff has up to and including January 10,
19   2025 to cause a licensed attorney to make an appearance on its behalf in this matter.
20   Should Plaintiff not obtain counsel within this timeframe, this matter will be subject to
21   dismissal for failure to prosecute.
22          IT IS FURTHER ORDRED setting a telephonic Status Conference for January
23   24, 2025 at 9:00 a.m. (15 minutes allowed). The parties must be prepared to discuss
24   deadlines for a new Case Management Order.              The parties will receive dial-in
25   information via electronic mail prior to the hearing.
26          Dated this 11th day of December, 2024.
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